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                                          June 10, 2019
By Hand Delivery
Honorable Margo K. Brodie
United States District Judge
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

Re:    In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
       Case No. 1:05-MD-1720 (MKB)(JO)

Dear Judge Brodie:
        Enclosed please find courtesy copies, pursuant to Your Honor’s Individual Rule 1.D, of
the following documents, which were filed on June 7:
              Notice of Motion
              Memorandum of Law of Gary B. Friedman and Friedman Law Group LLP in
               Support of Motion to Intervene;
              Complaint in Intervention (Proposed); and
              Declaration of Gary B. Friedman, with Exhibits 1 through 7.
        I am mindful that “the Court requests that the parties refrain from filing motion papers
until the motion has been fully briefed” (Rule 3.D), but we concluded the timing of class
counsel’s fee petition and the requirement in the case law that Rule 24 motions must be promptly
“filed” counseled towards filing the motion now.
        I have reached out to the parties and hope to advise the Court within the week of a
briefing schedule that is agreeable to all concerned, under Individual Rule 3.C.


                                      Respectfully submitted,
                                      s/ Gary B. Friedman
                                      Gary B. Friedman
cc:    Hon. James Orenstein (by hand, with enclosures)
       All counsel of record (by ECF, without enclosures)
